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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 JOHN DOE,                                     :   Case No. 18-cv-11776
                                               :
                           Plaintiff,          :   Hon. Arthur J. Tarnow
                                               :   Mag. Elizabeth A. Stafford
       v.                                      :
                                               :   DEFENDANTS’ MOTION
 UNIVERSITY OF MICHIGAN, et al.,               :   TO DISMISS PLAINTIFF’S
                                               :   SECOND AMENDED
                           Defendants.         :   COMPLAINT
                                               :
                                               :   ORAL ARGUMENT
                                               :   REQUESTED


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       Defendants move pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal

 Rules of Civil Procedure for an order dismissing with prejudice all of plaintiff’s

 claims against defendants in the second amended complaint (ECF No. 47). In

 support of this motion, defendants rely upon the attached brief in support.

       Counsel for defendants conferred with counsel for plaintiff on May 31, 2019

 and explained the nature of this motion and its legal basis. Counsel for defendants

 requested, but did not obtain, concurrence in the relief sought in this motion.

       WHEREFORE, defendants respectfully request that the Court grant

 defendants’ motion and dismiss with prejudice all of plaintiff’s claims against

 defendants in the second amended complaint.

                                            Respectfully submitted,
 June 5, 2019

                                            /s/Joshua W. B. Richards
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 JOHN DOE,                                      :   Case No. 18-cv-11776
                                                :
                           Plaintiff,           :   Hon. Arthur J. Tarnow
                                                :   Mag. Elizabeth A. Stafford
       v.                                       :
                                                :   DEFENDANTS’ BRIEF IN
 UNIVERSITY OF MICHIGAN, et al.,                :   SUPPORT OF
                                                :   DEFENDANTS’ MOTION
                           Defendants.          :   TO DISMISS PLAINTIFF’S
                                                :   SECOND AMENDED
                                                :   COMPLAINT


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                 STATEMENT OF THE ISSUES PRESENTED
       1.     Should the Court dismiss all counts of plaintiff’s second amended

 complaint because plaintiff lacks Article III standing and his claims are not ripe for

 decision?

       Defendants assert that the answer is “Yes.”

       2.     Should the Court dismiss plaintiff’s Fourteenth Amendment

 procedural due process claim (Count I) because he has not been deprived of a

 protected due process interest, but even if he had, the University’s sexual

 misconduct policy is fully consistent with the Sixth Circuit’s requirements for due

 process?

       Defendants assert that the answer is “Yes.”

       3.     In the alternative, should the Court dismiss plaintiff’s Fourteenth

 Amendment procedural due process claim (Count I) because it is barred by

 qualified immunity to the extent it purports to establish liability against the

 individual defendants in their personal capacities?

       Defendants assert that the answer is “Yes.”

       4.     Should the Court dismiss plaintiff’s Title IX claim (Count II) because

 it is based on mere speculation about the outcome of a process that has not been

 concluded and fails to state a claim?

       Defendants assert that the answer is “Yes.”


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       5.     Should the Court dismiss plaintiff’s claims under the Elliott-Larsen

 Civil Rights Act (Counts III and IV) because they may not be brought against the

 individual defendants in their personal capacities because the statute permits

 claims against individuals only in their official capacities as “agent[s] of an

 educational institution”?

       Defendants assert that the answer is “Yes.”




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                                   INTRODUCTION
        This case arises from allegations of sexual assault against plaintiff (“Doe”)

 by a fellow University student (the “Claimant”). The University commenced an

 investigation into those allegations in spring 2018, but the investigation was not

 completed.     (See ECF No. 47 ¶¶ 58, 73, 75.)       Nevertheless, without even a

 preliminary finding – let alone a sanction or a final decision following an available

 appeal 1 – Doe filed this suit.

        Like Doe’s original and first amended complaints, his second amended

 complaint is premature and must be dismissed because Doe cannot satisfy the

 jurisdictional requirements of Article III. Absent a conclusion that Doe violated

 University policy by engaging in non-consensual sex, Doe cannot demonstrate a

 concrete injury – one that is not based on speculation or conjecture as to the

 outcome of the student conduct proceeding, and is fairly traceable to defendants’




 1
   The University’s former Policy and Procedures on Student Sexual and Gender-
 Based Misconduct and Other Forms of Interpersonal Violence (the “2018 Policy”)
 is described in detail in defendants’ response to Doe’s motion for temporary
 restraining order and preliminary injunction. (See ECF No. 21 at 4-8.) The
 University’s current sexual misconduct policy, which became effective January 9,
 2019, is entitled The University of Michigan Interim Policy and Procedures on
 Student Sexual and Gender-Based Misconduct and Other Forms of Interpersonal
 Violence (the “2019 Policy”). The 2019 Policy is attached as Exhibit C to the
 second amended complaint (see ECF No. 47-3) and as Exhibit A to the Declaration
 of Joshua W. B. Richards, Esq. (“Richards Declaration”), filed with this brief.
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 actions. As a result, Doe cannot establish standing, an essential jurisdictional

 requirement for this Court to exercise judicial power.

       For similar reasons, Doe also cannot satisfy the fitness and hardship

 requirements necessary to establish that his claims are ripe. Failure to dismiss

 Doe’s claims would create an untenable precedent permitting any student to bring

 a claim as soon as she or he is accused of any kind of misconduct – whether

 cheating, vandalism, underage drinking, or sexual misconduct. Federal courts are

 not super-administrators for colleges, and they certainly are not courts of first

 resort to mediate as-yet undecided questions of university discipline. Yet that sort

 of intervention is precisely what Doe seeks here.

       The University has raised the standing and ripeness defects on numerous

 occasions; first in its briefing and argument on Doe’s motion for a preliminary

 injunction and then on appeal to the Sixth Circuit.        (See ECF No. 21 at 14

 (“Plaintiff’s claims fail at the outset because they do not present a live case or

 controversy.”); ECF No. 29 at 38:20-39:21 (“[E]veryone agrees there has been no

 finding. No finding means no deprivation. No deprivation means no procedural

 due process violation. No procedural process violation means no injury in fact.

 And no injury in fact means no Article III standing. . . The Court does not have

 subject matter jurisdiction.”); First Brief, 6th Cir. Case No. 18-1870, Doc. No. 23.)

 This Court did not address standing in its Order on the preliminary injunction, and


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 the Sixth Circuit remanded the case during merits briefing, before it addressed

 these jurisdictional issues. (See ECF No. 30; ECF No. 42.) Standing and ripeness

 are now squarely before the Court and controlling authority requires that they be

 addressed before this case proceeds any further. See Douglas v. E.G. Baldwin &

 Assocs., 150 F.3d 604, 606-07 (6th Cir. 1998), abrogation on other grounds

 recognized by Heartwood, Inc. v. Agpaoa, 628 F.3d 261, 266 (6th Cir. 2010).

       Doe’s claims also fail as a matter of law. Doe cannot state a due process

 claim because he has not been deprived of a protected due process interest. But

 even if he had, the 2019 Policy complies with Doe v. Baum, 903 F.3d 575 (6th Cir.

 2018), as it was expressly designed to do, by affording students accused of sexual

 misconduct all procedural rights required in this Circuit, including a live hearing

 with direct cross-examination when credibility is at issue. Doe also fails to state a

 claim with respect to his other due process challenges, all of which either

 contradict, or are without any basis in, controlling law.

       And even if there were still a live dispute as to the procedural due process

 issue, qualified immunity would bar Doe’s due process claim against the individual

 defendants in their personal capacities because: (1) Doe has not actually suffered

 any deprivation; and (2) even if he had, the constitutional rights Doe speculates

 “would have” been violated were not clearly established during the time of the

 events described in the complaint. As other courts have already held, the right of a


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 student accused of sexual misconduct to a live hearing with direct cross-

 examination (i.e., not through a hearing panel or investigator) in cases where

 credibility is at issue was not clearly established in this Circuit before September 7,

 2018, when the Court of Appeals published its decision in Baum.

       Doe likewise fails to state an erroneous outcome claim under Title IX given

 the obvious lack of any outcome in the student conduct proceeding. Finally, Doe’s

 remaining claims against the individual defendants in their personal capacities

 under the Elliott-Larsen Civil Rights Act (“ELCRA”) are improper because the

 statute permits claims against individuals only in their official capacities as

 “agent[s] of an educational institution.”

       For these reasons, and as explained more fully below, defendants move for

 an order pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6)

 dismissing with prejudice all counts of Doe’s second amended complaint.

                       SUMMARY OF RELEVANT FACTS
 I.    The University commences an investigation into the allegations against
       Doe, and this Court enters an injunction.
       On March 20, 2018, a University student filed a complaint against Doe

 alleging that Doe sexually assaulted her. (See ECF No. 21 at 1.) The University

 began an investigation, but before the investigation was complete, Doe filed suit.

 (See ECF No. 1.)      Doe sought preliminary relief enjoining the University’s

 investigation on the basis that he was entitled to a live hearing with cross-


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 examination of the other party and witnesses. (See ECF No. 4.) The Court granted

 the motion in part, ordering the University to provide a live hearing with mediated

 cross-examination conducted by a resolution officer. (ECF No. 30 at 18-19.) The

 University appealed the Court’s injunction order, Doe filed a cross-appeal, (see

 ECF No. 32, ECF No. 36), and the Court granted the University’s motion to stay

 the injunction pending appeal. (See ECF No. 33; ECF No. 41.)

 II.   The Sixth Circuit remands the University’s appeal and Doe’s cross-
       appeal following the Sixth Circuit’s decision in Baum and the
       University’s amendment of its sexual misconduct policy in light of
       Baum.
       While the appeals were pending, a Sixth Circuit panel decided Doe v. Baum,

 903 F.3d 575 (6th Cir. 2018), which held, in summary and relevant part, that when

 a student is accused of sexual misconduct and credibility is at issue, a public

 university violates due process if it disciplines the student without providing a live

 hearing with direct cross examination.         The University amended its sexual

 misconduct policy to comply with Baum and, on January 18, 2019, the University

 filed a motion to dismiss Doe’s cross-appeal as moot. (See Defendants/Cross-

 Appellees’ Motion to Quash/Dismiss Appeal, Case No. 18-1903, Doc. No. 23.)

       On April 10, 2019, in light of the change in both the law and the facts, the

 Sixth Circuit vacated this Court’s preliminary injunction order, remanded both the

 University’s appeal and Doe’s cross-appeal, and directed this Court to reconsider

 Doe’s claims in light of Baum and the University’s 2019 Policy. (ECF No. 42.)


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        Doe filed his second amended complaint on May 22, 2019, attaching the

 2019 Policy.     (See ECF No. 47; ECF No. 47-3.)         Like Doe’s first amended

 complaint, his second amended complaint pleads that: (1) the investigation was not

 complete (ECF No. 47 ¶ 73); (2) no finding as to whether he violated University

 policy has been made (id. ¶¶ 58, 73); (3) no sanction has been imposed (id. ¶ 58);

 and (4) no appeal of a finding or sanction has been taken (id. ¶ 75).

 III.   Doe’s causes of action.
        Doe’s second amended complaint (ECF No. 47) asserts four claims:

        Count I: Fourteenth Amendment procedural due process claim against the

 individual defendants in their personal and official capacities;

        Count II: Title IX disparate treatment claim against the University and Board

 of Regents;

        Count III: ELCRA disparate treatment claim against the Board of Regents

 and the individual defendants in their personal and official capacities; and

        Count IV: ELCRA disparate impact claim against the Board of Regents and

 the individual defendants in their personal and official capacities. 2 (See ECF No.

 47 ¶¶ 98-163.)


 2
   On May 31, 2019, counsel for Doe agreed to dismiss, without prejudice, Counts
 III and IV (ELCRA) as to the Board of Regents and the individual defendants in
 their official capacities only. See e-mail from Doe’s counsel to defendants’
 counsel, attached as Exhibit B to the Richards Declaration.


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                                LEGAL STANDARD
       A court should dismiss a complaint “under Federal Rule of Civil Procedure

 12(b)(1) for lack of standing” when a plaintiff does “not establish an injury-in-fact

 and thus d[oes] not have standing.” Plunderbund Media, L.L.C v. DeWine, 753 F.

 App’x 362, 365, 372 (6th Cir. 2018).           “Where subject matter jurisdiction is

 challenged pursuant to 12(b)(1), the plaintiff has the burden of proving jurisdiction

 in order to survive the motion.” Mich. S. R.R. Co. v. Branch & St. Joseph Ctys.

 Rail Users Ass’n, 287 F.3d 568, 573 (6th Cir. 2002). “Rule 12(b)(6) affords a

 defendant an opportunity to test whether, as a matter of law, the plaintiff is entitled

 to legal relief even if everything alleged in the complaint is true.” Hill v. Blue

 Cross & Blue Shield of Mich., 299 F. Supp. 2d 742, 747 (E.D. Mich. 2003), aff’d in

 part, rev’d in part on other grounds, 409 F.3d 710 (6th Cir. 2005). In applying

 Rule 12(b)(6), the Court presumes all well-pleaded factual allegations to be true

 and draws all reasonable inferences from those allegations in favor of the non-

 moving party. See Lambert v. Hartman, 517 F.3d 433, 439 (6th Cir. 2008).

                                    ARGUMENT

 I.    Doe Lacks Article III Standing and His Claims Are Not Ripe.
       Without a determination on the complaint of sexual assault asserted against

 him, Doe’s claims fail as a matter of law on standing and ripeness grounds. “The

 first and fundamental question presented by every case brought to the federal

 courts is whether it has jurisdiction to hear a case.” Douglas, 150 F.3d at 606-07.

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 “The Constitution does not extend the ‘judicial Power’ to any legal question,

 wherever and however presented, but only to those legal questions presented in

 ‘Cases’ and ‘Controversies.’ U.S. Const. art. III, § 2.” Warshak v. United States,

 532 F.3d 521, 525 (6th Cir. 2008). As a result, a “claim is not ‘amenable to . . . the

 judicial process’. . . when it is filed too early (making it unripe) . . . or when the

 claimant lacks a sufficiently concrete and redressable interest in the dispute

 (depriving the plaintiff of standing).” Id. (quoting Steel Co. v. Citizens for a Better

 Env’t, 523 U.S. 83, 102 (1998)) (citation omitted).

       A.     Doe Lacks Article III Standing.
       The standing and ripeness doctrines prevent courts from having to resolve

 hypothetical claims based on events, circumstances, and injuries that may never

 occur. See Warshak, 532 F.3d at 533 (even if early judicial intervention would be

 preferable “[a]s a matter of efficiency . . . efficiency is not the only end of the

 Constitution”).   To satisfy the “case-or-controversy” requirement, Doe must

 establish, among other things, “an injury in fact that is concrete and particularized”

 and that such injury is “fairly traceable to the defendant’s action.” Airline Prof’ls

 Ass’n of the Int’l Bhd. of Teamsters v. Airborne, Inc., 332 F.3d 983, 987 (6th Cir.

 2003) (marks and citation omitted); see also Lujan v. Defs. of Wildlife, 504 U.S.

 555, 560 (1992) (describing these requirements as the “irreducible constitutional

 minimum of standing”); Massachusetts v. Mellon, 262 U.S. 447, 488 (1923) (to



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 establish injury in fact, a plaintiff must demonstrate that he or she has “sustained or

 is immediately in danger of sustaining some direct injury”); O’Shea v. Littleton,

 414 U.S. 488, 494 (1974) (“The injury or threat of injury must be both ‘real and

 immediate,’ not ‘conjectural’ or ‘hypothetical.’”) (citation omitted).

       “[W]ithout evidence that the [plaintiff’s] predicted result is ‘actual or

 imminent,’ such an injury can only be ‘conjectural or hypothetical.’” Airline

 Prof’ls Ass’n, 332 F.3d at 987 (quoting Mich. Gas Co. v. FERC, 115 F.3d 1266,

 1270-71 (6th Cir. 1997)); see also Morrison v. Bd. of Educ. of Boyd Cty., 521 F.3d

 602, 610 (6th Cir. 2008). As the Third Circuit has aptly explained: “an injury does

 not meet the imminence requirement if one cannot describe how the [plaintiffs]

 will be injured without beginning the explanation with the word ‘if.’” Williams v.

 Governor of Pa., 552 F. App’x 158, 162 (3d Cir. 2014) (marks omitted).

       Doe cannot demonstrate standing because he cannot show “an injury in fact

 that is concrete and particularized” in the absence of a finding or sanction against

 him. Doe’s general criticisms of the 2019 Policy – a policy written to address and

 adapt to the full spectrum of potential scenarios to which it may apply – are a far

 cry from the “actual or imminent,” “concrete and particularized” injury Doe must

 demonstrate to establish Article III standing. (See ECF No. 47 ¶ 86.) For example,

 Doe cannot allege an injury from an appeal when there has been no finding or

 sanction against him to appeal in the first place. (See id. ¶¶ 86, 115.) Nor can he


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 allege an injury concerning the adequacy of the live hearing before the hearing has

 occurred (or before any adverse finding or sanction, if any, is imposed).

       Doe also cannot demonstrate standing because he cannot show that any harm

 he purports to have suffered is fairly traceable to the University’s actions. See

 Airline Prof’ls Ass’n, 332 F.3d at 987 (Article III standing requires litigants to

 demonstrate that the complained-of harm is “fairly traceable to the defendant’s

 action”) (marks and citation omitted). Doe alleges, without any supporting facts,

 that he “has and will suffer . . . loss of personal and professional reputation,” (ECF

 No. 47 ¶¶ 116, 142, 152, 163) (emphasis added), and this Court concluded in error

 in its July 6th Order that because “sexual assault allegations” may injure Doe’s

 reputation, he had carried his burden (ECF No. 30 at 9, 16). However, no such

 injury could be fairly traced to the University’s actions, given that the allegations

 of sexual misconduct were made by a fellow student, and not by the University,

 which is obligated to act as an impartial arbiter pursuant to federal law. (See ECF

 No. 47 ¶¶ 20, 39.) Consequently, the second amended complaint’s conclusory

 allegations pertaining to Doe’s reputation are not “fairly traceable” to the

 defendants’ actions, and cannot stand in for the actual injury necessary to

 demonstrate standing. As a result, the Court lacks jurisdiction over Doe’s claims

 and must dismiss the second amended complaint for lack of standing.




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       B.     Doe’s Claims Are Not Ripe for Adjudication.
       Additionally, all of Doe’s claims must be dismissed because none of them

 are ripe. “A court lacks jurisdiction over the subject matter if the claim is not yet

 ripe for judicial review.” Norton v. Ashcroft, 298 F.3d 547, 554 (6th Cir. 2002).

 “Like standing, ripeness ‘is drawn both from Article III limitations on judicial

 power and from prudential reasons for refusing to exercise jurisdiction.’”

 Warshak, 532 F.3d at 525 (quoting Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538

 U.S. 803, 808 (2003)). As the Sixth Circuit has explained:

              The ripeness doctrine serves to “avoid[ ] ... premature
              adjudication” of legal questions and to prevent courts
              from “entangling themselves in abstract” debates that
              may turn out differently in different settings. In
              ascertaining whether a claim is ripe for judicial
              resolution, we ask two basic questions: (1) is the claim
              “fit[ ] ... for judicial decision” in the sense that it arises in
              a concrete factual context and concerns a dispute that is
              likely to come to pass? and (2) what is “the hardship to
              the parties of withholding court consideration”?
 Id. (marks and citations omitted) (emphasis added). “To be ripe for review, claims

 must satisfy both the fitness and the hardship components of the inquiry.” Airline

 Prof’ls Ass’n, 332 F.3d at 988.

       The allegations in the second amended complaint cannot satisfy either

 component of the ripeness inquiry. The facts Doe pleads do not establish that the

 harm he alleges is “likely to come to pass” because the harm Doe anticipates at the

 conclusion of the student conduct proceeding may never occur. Warshak, 532 F.3d


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 at 525. Where the parties and the Court “have no idea whether or when . . . a

 sanction will be ordered, the issue is not fit for adjudication.” Texas v. United

 States, 523 U.S. 296, 300 (1998) (quotations omitted). Doe’s claims cannot be

 “ripe until the process complained of has reached its completion.” Wiley v. Texas

 State Univ., No. 1:18-CV-930-RP, 2019 WL 317247, at *4 (W.D. Tex. Jan. 24,

 2019). 3 This is because procedural claims are not fit for decision, and therefore are

 not ripe, until injury in the form of a sanction or deprivation of some other liberty

 or property interest has occurred. 4

         As the Sixth Circuit observed en banc, “Answering difficult legal questions

 before they arise and before the courts know how they will arise is not the way we

 typically handle constitutional litigation.” Warshak, 532 F.3d at 526. “Ripeness

 doctrine exists ‘to ensure that courts decide only existing, substantial controversies,

 not hypothetical questions or possibilities.’” Norton, 298 F.3d at 554 (citations

 omitted). Absent an adverse finding and the imposition of sanctions on the claims



 3
     Unpublished cases are attached as Exhibit C to the Richards Declaration.
 4
   Doe does not have a protected property interest in the University’s procedures.
 To hold that such procedures create property rights “would make the scope of the
 Due Process Clause virtually boundless,” and would mean that a person may not
 be deprived of a hearing without having a hearing. See Shvartsman v. Apfel, 138
 F.3d 1196, 1199-1200 (7th Cir. 1998); see also, e.g., Cleveland Bd. of Educ. v.
 Loudermill, 470 U.S. 532, 541 (1985); Olim v. Wakinekona, 461 U.S. 238, 250
 (1983); Richardson v. Twp. of Brady, 218 F.3d 508, 518 (6th Cir. 2000); Griffith v.
 Fed. Labor Relations Auth., 842 F.2d 487, 495 (D.C. Cir. 1988).

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 asserted against Doe, the question whether defendants are liable under any of the

 counts set forth in the second amended complaint is purely advisory.

       Even if Doe were able to plead a dispute “that is likely to come to pass,”

 which he cannot, Doe will suffer no hardship from withholding judicial

 consideration until there has been an outcome. See Warshak, 532 F.3d at 525.

 “The prototypical case of hardship comes from the claimant who faces a choice

 between immediately complying with a burdensome law or risk[ing] serious

 criminal and civil penalties.” Id. at 531 (marks omitted). Doe has not been

 “require[d] . . . to engage in, or to refrain from, any conduct” to avoid “criminal

 and civil penalties for non-compliance.” Id. (citations and quotations omitted).

 Doe’s conduct is not being “regulate[d] . . . at all,” and thus Doe is “not [being]

 put . . . in an untenable bind between undertaking an irreversible burden or risking

 criminal indictment.” Id.

       Doe sued asking for an immediate halt to the University’s process. This

 Court agreed, stating in its vacated preliminary injunction order that it would not

 “simply standby as the fruit continues to rot on the tree.” (ECF No. 30 at 9.) But

 this metaphor ignores and subverts the law; at this stage of the proceedings, the

 legal claim at the heart of that turn of phrase is not yet ripe because there has been

 no deprivation of a Constitutionally-protected liberty or property interest. And as

 the Sixth Circuit has instructed, “an otherwise-unripe claim” may not “be


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 entertained on the ground that it will facilitate a judicial ruling on the merits.”

 Warshak, 532 F.3d at 532. “The ripeness doctrine, like all limitations on the

 ‘judicial Power,’ prevents us from ‘do[ing] today what can be done tomorrow’ and,

 in the process, prevents us from announcing interpretations of the Constitution that

 some citizens and commentators may wish to hear today.” Id. at 533.

       In Doe v. The Ohio State University, 136 F. Supp. 3d 854 (S.D. Ohio 2016),

 much as here, the plaintiff was a student accused of misconduct. He sought an

 injunction against the university continuing with its investigation of his conduct

 based on his claim that the proceedings would violate his due process rights. Id. at

 862-63. The court denied injunctive relief, noting that where the investigation was

 at an early stage, with no adverse finding against the plaintiff, the claim was not

 ripe for disposition. Id. at 864-65. The only other cases that address this question

 reached the same result, with this Court’s vacated preliminary injunction opinion

 as the outlier. See Peloe v. Univ. of Cincinnati, No. 1:14-CV-404, 2015 WL

 728309, at *8 (S.D. Ohio Feb. 19, 2015) (ruling plaintiff’s “procedural due process

 claim is not ripe” when plaintiff had “not yet suffered a constitutional injury”

 because the “disciplinary proceedings [we]re not complete and no disciplinary

 penalty ha[d] been imposed upon [plaintiff]”); Morreim v. Univ. of Tenn., No. 12–

 2891, 2013 WL 5673619, at *12 (W.D. Tenn. Oct. 17, 2013) (dismissing for lack

 of ripeness plaintiff’s claim that university seeking to strip her of tenure violated


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 due process when no decision had been made); cf. B.P.C. v. Temple Univ., No. 13-

 7595, 2014 WL 4632462, at *5 (E.D. Pa. Sept. 16, 2014) (denying preliminary

 injunction where alleged harm was “speculative, as the result of the hearing is not

 clear at this point”). Doe cannot satisfy either the fitness or hardship components

 of the ripeness inquiry, so this Court has no jurisdiction over Doe’s claims.

 II.    Doe fails to state a procedural due process claim under the Fourteenth
        Amendment (Count I) because he has not been deprived of a protected
        due process interest and the 2019 Policy complies with Baum.
       Even if Doe had alleged an injury sufficient to confer jurisdiction, Doe

 would not be able to state a due process claim because he has not been deprived of

 a protected due process interest. See Hahn v. Star Bank, 190 F.3d 708, 716 (6th

 Cir. 1999) (“To establish a procedural due process claim pursuant to § 1983,

 plaintiffs must establish . . . that they were deprived of [a] protected interest . . . .”)

 (emphasis added). But even if he had been deprived of a due process interest, Doe

 still could not state a claim because the 2019 Policy provides all process due in this

 Circuit. The Sixth Circuit held in Baum that when a student is accused of sexual

 misconduct and credibility is at issue, due process requires that the student be

 provided a live hearing with direct cross examination. See Baum, 903 F.3d at 581-

 85. The 2019 Policy complies with Baum and provides all of the procedural

 protections Baum requires. Critically, the 2019 Policy provides that “[a] typical

 hearing” includes “questions by one party to the other (typically with the



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 Respondent questioning the Claimant first)” and “follow-up questions by either

 party to any witness.” (See ECF No. 47-3 at 33.)

       Credibility is at issue in Doe’s case, (see ECF No. 47 ¶ 48), so pursuant to

 the 2019 Policy the University will provide a live hearing with cross-examination.

 Doe’s objections to the contrary are nothing more than speculation that the

 University will not provide what its 2019 Policy allows and Baum requires. The

 2019 Policy provides a flexible framework for the full range of cases the

 University must adjudicate rather than a rigid, detailed code that may be well-

 suited to some circumstances and ill-suited to others. Doe’s critiques of the 2019

 Policy’s procedures for hearings – e.g., that it does not explicitly state that all

 students are entitled to a live hearing with cross-examination and that hearing

 officers have discretion to control the format of hearings – do not establish that the

 2019 Policy, as applied to him in the circumstances of this case, will fall short of

 providing him the process he is due under Baum. The fundamentally speculative

 nature of Doe’s core procedural due process claim highlights the impossibility of

 litigating this claim before a hearing has occurred.

       Doe also fails to state a claim with respect to his other due process

 challenges. Doe’s challenge to the 2019 Policy’s use of the “preponderance of the

 evidence” standard of proof necessarily fails because the Sixth Circuit has

 approved of the preponderance standard in student disciplinary proceedings


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 alleging sexual assault.5 See Doe v. Univ. of Ky., 860 F.3d 365, 368 n.2 (6th Cir.

 2017). Doe’s categorical challenges with respect to the use of interim measures

 (e.g., withholding of transcripts) and the procedures for appeals (e.g., the role and

 authority of the external reviewer) fail to state a claim because they lack basis and

 support in the governing case law, and, critically for the University, are

 constitutionally-permissible measures for the University to take with respect to a

 portion of the cases it investigates. No aspect of the 2019 Policy violates any

 governing precedent as applied to Doe, which is what matters in this case.

 III.   In the alternative, Doe’s Fourteenth Amendment procedural due
        process claim (Count I) is barred by qualified immunity to the extent it
        purports to establish liability against the individual defendants in their
        personal capacities.
        Even if Doe could state a procedural due process claim, qualified immunity

 would bar that claim against the individual defendants in their personal capacities.

 Government employees like the individual defendants are immune from civil

 liability under 42 U.S.C. § 1983 when performing discretionary duties, provided

 “their conduct does not violate clearly established statutory or constitutional rights

 of which a reasonable person would have known.” Simmonds v. Genesee Cty., 682

 F.3d 438, 443 (6th Cir. 2012) (quotations omitted).
 5
   Doe’s challenge also fails because the University announced in April of 2019 that
 effective July 1, 2019 it will replace the “clear and convincing” standard of proof
 with the “preponderance of the evidence” standard in its Statement of Student
 Rights and Responsibilities, which governs non-sexual forms of misconduct, such
 that the same standard will be used in all student conduct proceedings.

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       Qualified immunity prevents employees from being held liable for

 reasonable mistakes of law, fact, or mixed questions of law and fact made while

 acting within their scope of authority.        Id.   To determine whether qualified

 immunity shields an employee from § 1983 liability, the Sixth Circuit asks:

 (1) whether the employee violated a constitutional right; and (2) if so, whether that

 constitutional right was clearly established such that a “reasonable official would

 understand that what he is doing violates that right.” Id. at 443-44 (quoting

 Saucier v. Katz, 533 U.S. 194, 202 (2001), overruled in part by Pearson v.

 Callahan, 555 U.S. 223 (2009)).

       Even if Doe’s due process claim were not insufficiently pled, qualified

 immunity would bar it to the extent it purports to establish liability against the

 individual defendants in their personal capacities. Because Doe’s due process

 claim arises from potential actions that he alleges might violate his due process

 rights in the future, not from actions that have already taken place, Doe cannot

 even establish the first prong necessary to avoid qualified immunity, i.e. the

 violation of a constitutional right.

       And even if the individual defendants’ had taken actions that violated Doe’s

 due process rights (they did not), they would still be entitled to qualified immunity

 because those rights were not clearly established. “For the right to be clearly

 established the case law must dictate, that is, truly compel (not just suggest or


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 allow or raise a question about), the conclusion for every like-situated, reasonable

 government agent that what defendant is doing violates federal law in the

 circumstances.” Gragg v. Ky. Cabinet for Workforce Dev., 289 F.3d 958, 964 (6th

 Cir. 2002) (emphasis and quotation omitted). “Because the focus is on whether the

 [employee] had fair notice that her conduct was unlawful, reasonableness is judged

 against the backdrop of the law at the time of the conduct. If the law at that time

 did not clearly establish that the [employee’s] conduct would violate the

 Constitution, the [employee] should not be subject to liability or, indeed, even the

 burdens of litigation.” Brosseau v. Haugen, 543 U.S. 194, 198 (2004).

       The rights Doe contends were likely to be violated if the investigation

 against him went forward were not clearly established.          In Doe v. Northern

 Michigan University, No. 2:18-CV-196, 2019 WL 2269721 (W.D. Mich. May 28,

 2019), the court ruled under similar circumstances that the defendants “did not

 violate Plaintiff’s clearly established rights, and are therefore entitled to qualified

 immunity,” because in spring 2018, “it was not entirely clear that a student was

 entitled to a live hearing” with cross-examination. Id. at *7. “[I]t was only after

 the disciplinary proceedings of this case that the Sixth Circuit stated in Baum that

 cross-examination is required if the fact-finder must choose between competing

 narratives.” Id. at *8 (citations and quotations omitted). So too here.




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       This Court’s ruling on Doe’s motion for a preliminary injunction reached the

 same conclusion in acknowledging that “the Sixth Circuit . . . ha[d] not ruled on

 whether a circumscribed form of cross-examination is constitutional in the absence

 of a live hearing.” (ECF No. 30 at 13; see also ECF No. 29 at 56 (“[W]e don’t

 know what the Sixth Circuit is going to say no matter what I rule.”).) This

 uncertainty necessarily precludes a finding that the law was clearly established

 when defendants investigated the claims against Doe under the 2018 Policy. 6 The

 individual defendants are entitled to qualified immunity, and Doe’s claims against

 them in their personal capacities must be dismissed.

 IV.   Doe fails to state a claim under Title IX (Count II).
       Title IX provides, in pertinent part, that “[n]o person . . . shall, on the basis

 of sex, be excluded from participation in, be denied the benefits of, or be subjected

 to discrimination under any education program or activity” that receives federal

 funding. 20 U.S.C. § 1681(a). A cognizable Title IX claim arising from a school

 disciplinary proceeding will generally fall within one of four categories:

 (1) erroneous outcome; (2) selective enforcement; (3) deliberate indifference; or




 6
   Defendants’ investigation of the claims against Doe under the 2018 Policy was
 fully consistent with established law in this Circuit at that time. See Flaim v. Med.
 Coll. of Ohio, 418 F.3d 629, 635, 640-41 (6th Cir. 2005); see also Doe v. Miami
 Univ., 882 F.3d 579, 600 (6th Cir. 2018); Doe v. Univ. of Cincinnati, 872 F.3d 393,
 406 (6th Cir. 2017); Doe v. Cummins, 662 F. App’x 437, 439, 448 (6th Cir. 2016).

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 (4) archaic assumptions. Miami Univ., 882 F.3d at 589 (citing Cummins, 662 F.

 App’x at 451-52 & n.9).

       Here, Doe argues that an “erroneous outcome” has resulted in the

 withholding of his degree and that an “erroneous outcome” will occur if he is

 ultimately found to have violated University policy. (See ECF No. 47 ¶ 141; see

 also id. ¶ 131 (discussing “likelihood” of future erroneous outcome).) To state a

 claim7 under an erroneous outcome theory, a plaintiff must plead “(1) facts

 sufficient to cast some articulable doubt on the accuracy of the outcome of the

 disciplinary proceeding and (2) a particularized . . . causal connection between the

 flawed outcome and gender bias.”         Miami Univ., 882 F.3d at 592 (quoting

 Cummins, 662 F. App’x at 452) (emphases added).

       Doe cannot carry his burden on either element because he has not and cannot

 assert any facts: (a) to cast doubt on the accuracy of an outcome that has not

 happened; or (b) to connect an outcome that has not happened to gender bias. The

 second amended complaint demonstrates that the investigation into Doe’s conduct

 is not complete, no finding has been made, no sanction has been imposed, and, of

 course, no appeal of a finding has been taken. (ECF No. 47 ¶¶ 58, 73, 75.)

 7
    “[A] complaint alleging Title IX violations must plead sufficient factual
 allegations to satisfy Twombly and Iqbal.” Miami Univ., 882 F.3d at 588; see also
 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (“Factual allegations must be
 enough to raise a right to relief above the speculative level [to survive the pleading
 stage].”). A Title IX claim must be dismissed at the pleading stage where, as here,
 a plaintiff fails to plausibly allege discrimination on the basis of gender. See id.

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       The second amended complaint also lacks the types of particular facts

 indicating that gender motivated any “outcome.” See Miami Univ., 882 F.3d at

 593 (quoting Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994)) (outlining

 types of facts needed to satisfy second element of erroneous outcome claim).

 Doe’s allegations are general and conclusory, neither speaking to the actions of the

 University in this case, nor reflecting bias in favor of females over males. See Doe

 v. Univ. of Dayton, No. 18-3339, 2019 WL 1224606, at *3 (6th Cir. Mar. 15, 2019)

 (explaining that “alleging that a university adopted certain procedures due to

 pressure from the federal government is not enough on its own;” instead, an

 erroneous outcome claim must be tied to respondent’s own disciplinary

 proceeding); Baum, 903 F.3d at 586 (noting that “all of [the alleged] external

 pressure alone is not enough to state a claim that the university acted with bias in

 this particular case” and relying on allegations that hearing board rejected all male

 testimony and accepted all female testimony as demonstrating plausible inference

 of adjudicator bias); Doe v. Univ. of Cincinnati, No. 16-987, 2018 WL 1521631, at

 *5-6 (S.D. Ohio Mar. 28, 2018) (public pressure unrelated to respondent’s own

 case insufficient to show causal connection to gender discrimination even on

 motion to dismiss). In sum, Doe’s allegations come nowhere close to the requisite

 levels of specificity or severity required to state an erroneous outcome claim.




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       Peloe v. University of Cincinnati is instructive.     Peloe, a University of

 Cincinnati student, was accused of raping two women and subsequently charged

 with violating the university’s student code of conduct. See 2015 WL 728309, at

 *2. Pursuant to the university’s code of conduct, the charge against Peloe was to

 proceed through four levels of procedure before any discipline would be imposed:

 (1) a hearing resulting in a recommendation; (2) a review of the recommendation;

 (3) an appeal decision; and (4) a final decision. Id. at *1-2. The complaint against

 Peloe made it through only the first step – the hearing – before Peloe sued the

 university on due process grounds. See id. at *3. After the university moved to

 dismiss, Peloe sought leave to amend to add a Title IX claim alleging that gender

 bias caused an erroneous outcome in the “first step of a multi-step disciplinary

 process.” Id. at *4 & *14. The university opposed the filing of a second amended

 complaint on futility grounds, arguing that the proposed erroneous outcome claim

 was not ripe. Id. The Court agreed. In denying leave to amend, the Court noted:

             Peloe filed this suit after the ARC panel issued its
             nonbinding recommendation. Peloe did not continue
             with steps two, three, or four of the disciplinary process.
             The Court cannot fairly determine at this stage whether
             gender bias caused an erroneous outcome because
             Peloe cut off the process before [the university] made
             an enforceable decision. . . . In sum, the Title IX claim is
             not ripe because it involves contingent events that might
             not occur as Peloe anticipates.

 Id. at *14 (emphasis added).


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       As in Peloe, the University’s process was “cut off” before the University

 “made an enforceable final decision as to the sexual misconduct charges against

 [him].” Id. Doe’s Title IX claim, which is based on mere speculation about a

 potential future outcome of the University’s disciplinary process, cannot satisfy the

 elements of an erroneous outcome claim and must be dismissed. See Wiley, 2019

 WL 317247, at *5 (dismissing claim where filed before university completed its

 process and claim was premised on “contingent future events that may not occur as

 anticipated, or indeed may not occur at all”) (internal citation omitted); Saravanan

 v. Drexel Univ., No. CV 17-3409, 2017 WL 5659821, at *4 (E.D. Pa. Nov. 24,

 2017) (explaining plaintiff “must allege he is innocent and wrongly found to have

 committed an offense to plead a Title IX erroneous outcome theory claim”)

 (emphasis added) (quotation omitted); Doe v. Salisbury Univ., 123 F. Supp. 3d

 748, 766 (D. Md. 2015) (plaintiffs satisfied two of three elements of erroneous

 outcome claim only by alleging existence of “numerous procedural defects” and

 “that th[o]se procedural flaws led to an adverse and erroneous outcome”).

 V.    Doe’s ELCRA claims cannot be brought against the individual
       defendants in their personal capacities (Counts III and IV).
       ELCRA claims may not be brought against the individual defendants in their

 personal capacities because ELCRA applies to “educational institutions,” which

 include “agent[s] of an educational institution.” MCL 37.2401. In other words,

 only an educational institution or someone acting as an agent or on an educational


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 institution’s behalf is subject to liability under the statute. A personal capacity

 claim, by definition, is not a claim against an individual acting as an agent or on

 behalf of another person or entity. Nor can a person acting in his or her personal

 capacity fairly be said to be an “educational institution,” the sole proper defendant

 under ELCRA for purposes of this lawsuit. Therefore, Doe’s claims in Counts III

 and IV against the individual defendants in their personal capacities 8 must be

 dismissed with prejudice.

                                  CONCLUSION
       Defendants respectfully request that the Court grant their motion and dismiss

 with prejudice all of Doe’s claims in the second amended complaint.

                                           Respectfully submitted,
 June 5, 2019

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 8
   Doe’s ELCRA claims against the Board of Regents and the individual defendants
 in their official capacities have been voluntarily withdrawn. See e-mail from Doe’s
 counsel to defendants’ counsel, attached as Exhibit B to the Richards Declaration.

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                            CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2019, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to:

                                 Deborah L. Gordon
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